                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE


  WILLIAM EUGENE KLAVER                                          )
                                                                 )
          Plaintiff,                                             )
                                                                 ) No. 1:19-cv-00304 (LEAD CASE)
  v.                                                             ) No. 1:19-cv-00198
                                                                 )
  HAMILTON COUNTY GOVERNMENT,                                    )
  DEPUTY TYLER McRAE IN HIS OFFICAL                              )
  CAPACITY AS A DEPUTY SHERIFF FOR                               )
  HAMILTON COUNTY GOVERNMENT AND                                 )
  IN HIS INDIVIDUAL CAPACITY                                     )
                                                                 )
  DEPUTY DANIEL WILKEY IN HIS OFFICIAL                           )
  CAPACITY AS A DEPUTY SHERIFF FOR                               )
  HAMILTON COUNTY GOVERNMENT AND                                 )
  IN HIS INDIVIDUAL CAPACITY,                                    )
                                                                 )
          Defendants.                                            )


                           DEFENDANT DANIEL WILKEY’S ANSWER


          COMES NOW Daniel Wilkey (hereinafter "Defendant" or “Wilkey”) and for answer to

  the Amended Complaint (hereinafter “complaint”) filed against him would show to the court as

  follows:

       1. Without the aid of discovery, Defendant can neither admit nor deny the statements

          contained in paragraph I.A. of the complaint and strict proof is demanded.

       2. Defendant admits the statements contained in paragraph I.B. of the complaint as to Wilkey,

          but denies the telephone number. As to the other Defendants, these statements do not

          require a response from this Defendant.

       3. Wilkey admits that this Court has jurisdiction over this suit in paragraph II of the complaint.

       4. Defendant admits that a § 1983 claim is being brought but denies any wrongdoing.




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     5. The allegations contained in paragraph II.B. of the complaint do not require a response

        from this Defendant.

     6. The allegations contained in paragraphs II.C-O. of the complaint are denied.

     7. The allegations contained in paragraph II.P. of the complaint do not require a response

        from this Defendant.

     8. Defendant Wilkey admits to acting under color of law.             The remaining allegations

        contained in paragraph II.Q. of the complaint do not require a response from this

        Defendant.

     9. Wilkey admits both he and Defendant McRae were employed as deputies of Hamilton

        County when all acts occurred, driving county vehicles, and using county equipment that

        night in paragraph II.R. of the complaint.

     10. Hamilton County being responsible for the actions of its employees per Tenn. Code. Ann.

        8-8-302 does not require a response from this Defendant in paragraph II.R. of the

        complaint.

     11. Garrett Harrison Bull K9 officer with the Soddy Daisy Police Department lying as to his

        dog alerting to William Klaver’s vehicle, then later in a news story attempting to explain it

        away as his K9 not being able to discern hemp does not require a response from this

        Defendant in paragraph II.R. of the complaint.

     12. Plaintiff never having any of that in his vehicle either does not require a response from this

        Defendant in paragraph II.R. of the complaint.

     13. Wilkey is without sufficient information and knowledge to form a belief as to Plaintiff

        challenging him as to the time of the stop on an unfiled citation and therefore denies the

        same. The remaining allegation of Garrett Harrison Bull standing quietly behind William




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        Klaver and only speaking up as William Klaver challenged that does not require a response

        from this Defendant in paragraph II.R. of the complaint.

     14. Police scanner records that William Klaver has in his possession about the time of the stop

        being ten minutes after 8PM not 8:33PM in paragraph II.R. of the complaint does not

        require a response from this Defendant.

     15. Wilkey denies scrubbing off a half hour wait for his request for a Soddy Daisy K9 officer

        to arrive in paragraph II.R. of the complaint.

     16. Wilkey is without sufficient information and knowledge to form a belief as to Plaintiff

        being stalked and harassed by Hamilton County Sherriff’s Department personnel in an

        effort to intimidate and threaten William Klaver out of taking action via lawsuit against

        Wilkey, McRae, or other Defendants, and therefore denies the same in paragraph II.R. of

        the complaint.

     17. Wilkey admits to acting under color of law in paragraph II.R. of the complaint.

     18. Wilkey is without sufficient information and knowledge to form a belief as to Plaintiff

        having video evidence which will be presented in court in paragraph II.R. of the complaint.

     19. The allegations contained in paragraph II.S. of the complaint do not require a response

        from this Defendant.

     20. The allegations contained in paragraph II.T. of the complaint do not require a response

        from this Defendant.

     21. Hwy 27 (J. Lon Foust Highway) southbound mile marker 21 behind the exit 111 sign to

        exit in paragraph III.A. of the complaint does not require a response from this Defendant.




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     22. Defendant denies any wrongdoing of incidentally this is not the address of 12200 Dayton

        Pike as Wilkey wrote down on the unfiled citation contained in paragraph III.A. of the

        complaint.

     23. Wilkey is without sufficient information and knowledge to form a belief as to Plaintiff not

        being on Dayton Pike that night, and therefore denies the same in paragraph III.A. of the

        complaint.

     24. Defendant denies any wrongdoing with you will hear him confirm the location Plaintiff

        states in a conversation with police dispatch as being correct when dispatch needs to know

        where to send the K9 from Soddy Daisy found in paragraph III.A. of the complaint.

     25. Defendant denies any wrongdoing with Wilkey clearly knowing where he was, and it was

        not on Dayton Pike anywhere found in paragraph III.A. of the complaint.

     26. Wilkey denies as a legal conclusion willingly lying, plain and simple contained in

        paragraph III.A. of the complaint.

     27. Defendant denies as a legal conclusion and any wrongdoing with something being done by

        Wilkey in order to place jurisdiction within the Soddy Daisy city limits on paper in order

        to justify his asking for a Soddy Daisy K9 contained in paragraph III.A. of the complaint.

     28. Wilkey further denies any wrongdoing with the officer likely being a pal and willing to lie,

        instead of asking for any K9 units on the air which was the normal procedure found in

        paragraph III.A. of the complaint.

     29. Defendant is without sufficient information and knowledge to form a belief as to Wilkey’s

        doing so being verified by police scanner recordings from that night that William Klaver

        has in his possession and being presented as evidence in court, and therefore denies the

        same contained in paragraph III.A. of the complaint.




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     30. Wilkey admits the incident took place on April 17, 2019 and denies any wrongdoing with

        the time being at 8:10PM and not the time of 8:33PM that Defendant wrote on this unfiled

        citation contained in paragraph III.B. of the complaint.

     31. Defendant is without sufficient information and knowledge to form a belief as to actual

        time being verified by police scanner records from that night that William Klaver has in

        his possession and being presented as evidence in court contained in paragraph III.B. of

        the complaint.

     32. William Klaver first taking notice of a vehicle as he traveled southbound on highway 27

        that appeared to be crashing in paragraph III.C. of the complaint does not require a response

        from this Defendant.

     33. Defendant is without sufficient information and knowledge to form a belief as to Plaintiff

        looking to his left and seeing a Hamilton County Sherriff’s department vehicle sliding with

        brakes locked down and a great cloud of tire smoke from all four tires as it tried to make a

        cut through in the median from the northbound lanes of highway 27, and therefore denies

        the same found in paragraph III.C. of the complaint.

     34. Defendant is without sufficient information and knowledge to form a belief as to Plaintiff

        continuing on his way then noticing blue lights behind him, and pulling over at mile marker

        21 behind the exit 111 sign saying exit on highway 27 southbound, and therefore denies

        the same contained in paragraph III.C. of the complaint.

     35. Defendant is without sufficient information and knowledge to form a belief as to Plaintiff

        at no time ever being on Dayton Pike as Wilkey claimed in the unfiled citation, and

        therefore denies the same found in paragraph III.C. of the complaint.




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     36. Defendant denies as a legal conclusion and any wrongdoing with Wilkey doing something

        on paper to move jurisdiction to Soddy Daisy in an attempt to justify his asking specifically

        for a Soddy Daisy K9 instead of the usual any K9 units on the air that the police normally

        use found in paragraph III.C. of the complaint.

     37. Plaintiff having video evidence which he will present in court, along with police scanner

        records from that night that will explain things much better than he can here does not

        require a response from this Defendant contained in paragraph III.C. of the complaint.

     38. As to who saw what happened William Klaver would say several thousand people as they

        drove by that busy interchange around exit 111 highway 27 mile marker 21 on that

        Wednesday night does not require a response from this Defendant in paragraph III.C. of

        the complaint.

     39. Defendant is without sufficient information and knowledge to form a belief as to only when

        Plaintiff questioned Wilkey as to his claim of bright sunlight at 8:33PM when the sun had

        gone down at 8:15PM according to google, and therefore denies the same contained in

        paragraph III.C. of the complaint.

     40. Garrett Harrison Bull the responding and requested by Wilkey K9 officer standing quietly

        behind Plaintiff piping up and claiming his dog had alerted on William Klaver’s passenger

        door contained in paragraph III.C. of the complaint does not require a response from this

        Defendant.

     41. Defendant denies McRae and Wilkey conducted an illegal search of William Klaver’s

        vehicle found in paragraph III.C. of the complaint.

     42. Defendant denies they found nothing of course as William Klaver’s tint was found in the

        vehicle that William Klaver possessed contained in paragraph III.C. of the complaint.




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     43. Defendant denies as a legal conclusion and any wrongdoing with Wilkey lied on the

        citation as to time of stop as being 8:33PM when Plaintiff will prove in court via police

        scanner recording in his possession that the actual and provable time of stop was 8:10PM

        found in paragraph III.C. of the complaint.

     44. Defendant denies this was done to scrub off the nearly half hour wait time it took for

        Wilkey’s requested Soddy Daisy K9 to arrive on scene contained in paragraph III.C. of the

        complaint.

     45. Wilkey denies lying as to the location of the stop on the unfiled citation by indicating 12200

        Dayton Pike as place of stop when the actual place of stop was highway 27 southbound

        mile marker 21 contained in paragraph III.C. of the complaint.

     46. Defendant denies any wrongdoing with his doing so not being a mistake as he clearly

        demonstrated in verbally directing dispatch as to our true location for the Soddy Daisy K9

        officer contained in paragraph III.C. of the complaint.

     47. Defendant denies said Soddy Daisy K9 officer, Garrett Harrison Bull, also threatened to

        put Plaintiff in back of the patrol car as Daniel Cameron Wilkey and Tyler Shane McRae

        performed an illegal search of William Klaver’s vehicle without his consent found in

        paragraph III.C. of the complaint.

     48. Defendant denies any wrongdoing with also they removed Plaintiff from the flow of traffic,

        an act which by itself presented a certain level of danger to Plaintiff, stopped a tint exempt

        vehicle for window tint then never filed the citation contained in paragraph III.C. of the

        complaint.




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     49. Defendant denies further endangering Plaintiff’s life by holding him roadside for nearly an

        hour at a very busy travel nexus where a car or big truck could easily have killed him in

        paragraph III.C. of the complaint.

     50. You may educate yourself further by entering the following link into google search bar

        does not require a response from this Defendant in paragraph III.C. of the complaint.

     51. It will take you to the first video, then follow the links in each description does not require

        a response from this Defendant in paragraph III.C. of the complaint.

     52. https://www.youtu.be/3gvpSiYZpPk does not require a response from this Defendant

        found in paragraph III.C. of the complaint. It appears that William Klaver maybe

        referencing this video link at

        https://www.youtube.com/watch?v=reYtT4MeBLA&feature=youtu.be at least one video

        in a series of videos.

     53. Defendant admits Wilkey is currently named in four (five total) other lawsuits in Hamilton

        County Court found in paragraph III.C. of the complaint.

     54. Case numbers 19C1100, 19C1101, 19C1161, and 19C1248 does not require a response

        from this Defendant in paragraph III.C. of the complaint.

     55. Defendant denies any wrongdoing with one was a roadside anal probe, one was a forced

        baptism and sexual assault, and third was accosting and groping of minor boys and girls

        contained in paragraph III.C. of the complaint.

     56. A fourth lawsuit is filed in connection to the minor stop in which McRae is named does

        not require a response from this Defendant found in paragraph III.C. of the complaint.




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     57. Wilkey is without sufficient information and knowledge to form a belief as to both Wilkey

        and McRae growing up in Rhea County, TN, and therefore denies the same in paragraph

        III.C. of the complaint.

     58. Wilkey admits he was also named in a lawsuit in federal court for killing a man at the Rhea

        County hospital while a Rhea County deputy, Gardner v. Rhea County et. al, Case Number

        1:15-cv-00256 contained in paragraph III.C. of the complaint.

     59. If not for my camera phone on a tripod that I have set up for my YouTube channel, things

        surely would have gone much worse for me as well does not require a response from this

        Defendant in paragraph III.C. of the complaint.

     60. Defendant denies any wrongdoing with however, Wilkey knowing early on that they were

        being recorded and possibly broadcasted contained in paragraph III.C. of the complaint.

     61. Defendant denies as a legal conclusion and any wrongdoing with when Wilkey entered

        Plaintiff’s vehicle for his illegal search, one seeing him attempt to turn off Plaintiff’s

        camera on Plaintiff’s phone found in paragraph III.C. of the complaint.

     62. Defendant denies any wrongdoing with him not being successful found in paragraph III.C.

        of the complaint.

     63. Plaintiff having four videos total from that event available for viewing to the public over a

        certain age on his YouTube channel does not require a response from this Defendant in

        paragraph III.C. of the complaint.

     64. Defendant denies as a legal conclusion and any wrongdoing with Plaintiff’s preventing

        their actions thusly precluding or obliterating their intent contained in paragraph III.C. of

        the complaint.




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     65. Wilkey is without sufficient information and knowledge to form a belief as to it is clear

        from these other occasions that McRae, Wilkey, and Bull had nefarious intent that night,

        and therefore denies the same contained in paragraph III.C. of the complaint.

     66. Defendant denies any wrongdoing with that they were unsuccessful speaks to my efforts

        to stop them, not any willingness to suddenly do the right thing for their part contained in

        paragraph III.C. of the complaint.

     67. Defendant denies also subsequently Plaintiff being stalked and harassed by Hamilton

        County Sherriff’s Department personnel in an attempt to intimidate and threaten William

        Klaver out of taking legal actions against Wilkey, McRae, Bull, and Hamilton County TN

        contained in paragraph III.C. of the complaint.

     68. Defendant admits to acting under color of law but denies violating 18 USC § 241 and title

        18 USC Code § 242 as well as title 18 US Code § 249 contained in paragraph III.C. of the

        complaint.

     69. I have video evidence of their actions which I will present in court does not require a

        response from this Defendant in paragraph III.C. of the complaint.

     70. Plaintiff being made to exit his vehicle when the drug K9 from Soddy Daisy arrived around

        8:30PM or so does not require a response from this Defendant in paragraph IV. of the

        complaint.

     71. Plaintiff being made to place his hands on the hood, which was extremely hot, and upon

        complaining and pulling them off being directed by Tyler McRae Hamilton County

        Sherriff’s deputy and acting as such to put his hands on the hood, at which time they

        became burned from the extreme heat does not require a response from this Defendant in

        paragraph IV. of the complaint.




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     72. Plaintiff’s use of Neosporin pain relief cream on them for a few days until they were healed

        and wore leather work gloves to protect them until they healed does not require a response

        from this Defendant in paragraph IV. of the complaint.

     73. The psychological stress of being subject to all that on a public thoroughfare where anyone

        and everyone can see Plaintiff, and thinking that he is a criminal as a result does not require

        a response from this Defendant in paragraph IV. of the complaint.

     74. Defendant is without sufficient information and knowledge to form a belief as to Plaintiff

        being an actor who has been in several Hollywood films, this taint these jokers left on me

        could negatively affect my hirability, and therefore denies the same contained in paragraph

        IV. of the complaint.

     75. Defendant denies any wrongdoing with as well the citation William Klaver was made to

        sign never being filed, eliminating Plaintiff’s chance to clear his name before a judge

        contained in paragraph IV. of the complaint.

     76. Defendant denies any wrongdoing with not filing being done to protect themselves not to

        help Plaintiff as Plaintiff is certain any and all videos were destroyed as well found in

        paragraph IV. of the complaint.

     77. Defendant denies they did not have probable cause to justify being detained for nearly an

        hour, and is without sufficient information to form a belief as to Plaintiff’s criminal history,

        and therefore denies the same contained in paragraph IV. of the complaint.

     78. Defendant denies attempting to scrub off the wait time for the Soddy Daisy K9 that he

        specifically asked for by entering a time of stop as 8:33PM, and is without sufficient

        information to form a belief as to when police scanner recordings in William Klaver’s




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           possession prove that William Klaver was stopped at 8:10PM, and therefore denies the

           same contained in paragraph IV. of the complaint.

       79. Defendant denies neither did they have William Klaver’s permission to search his vehicle,

           nor at any time was he read my rights found in paragraph IV. of the complaint.

       80. William Klaver reporting these events to Internal Affairs at the Hamilton County Sherriff’s

           annex via telephone, which was recorded by them according to the telltale beeps he kept

           hearing does not require a response from this Defendant found in paragraph IV. of the

           complaint.

       81. However, Plaintiff never hearing back from them does not require a response from this

           Defendant in paragraph IV. of the complaint.

       82. Wilkey denies all the allegations contained in paragraph V. of the complaint and denies

           that this Plaintiff is entitled to any damages, settlement, relief, or judgment.

       83. Any allegations or statements not specifically admitted, denied, or addressed in this answer

           are generally denied.

                                            FIRST DEFENSE

           The complaint fails to state a claim upon which relief can be granted.

                                          SECOND DEFENSE

           Wilkey specifically asserts that he was acting in good faith and in the good-faith

   performance of his job and duties for which he is entitled to the defense of qualified immunity or

   good faith immunity from any of Plaintiff’s actions in the reasonable performance of his duties as

   it relates to this Plaintiff.

                                           THIRD DEFENSE




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          To the extent that any of the Plaintiff’s claims can be considered a Tennessee tort law

   claim, Wilkey specifically asserts the defense of comparative fault. Wilkey specifically asserts

   that the Plaintiff was guilty of comparative fault and that his fault constitutes 100% of the fault,

   thereby barring his claims as a matter of law.

                                          FOURTH DEFENSE

           Wilkey denies that he deprived the Plaintiff of any of his constitutional rights or that in

   any way he violated Title 42 U.S.C. § 1983, the United States Code, the United States Constitution,

   the Tennessee Constitution, the common law of Tennessee, or any Tennessee statute by performing

   his duties during his response to the traffic stop, and the events that followed.

                                          FIFTH DEFENSE

          Wilkey asserts Plaintiff is not acting in good faith nor has signed his complaint.

                                          SIXTH DEFENSE

          Wilkey asserts that his actions were objectively reasonable in connection with the attempt

   to respond to a traffic stop. Wilkey denies that he used any excessive force against the Plaintiff.

                                          SEVENTH DEFENSE

          The Defendant named in this lawsuit is entitled to be dismissed from it in their official

   capacity as any action against them in their official capacity is actually brought against a

   governmental entity, Hamilton County, which is already named as a Defendant in this lawsuit.

                                          EIGHTH DEFENSE

          In the alternative, Wilkey specifically asserts all defenses applicable to him under the

   Tennessee Governmental Tort Liability Act “TGTLA”, Tenn. Code Ann. § 29-20-101 et seq., and

   incorporates by reference herein all defenses specified therein. Particularly, Wilkey relies upon

   the following provisions:




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          A. Tenn. Code Ann. § 29-20-205 sets out nine (9) specific exceptions from liability where

             negligent acts or omissions of any employee occur within the scope of employment,

             including, but not limited to:

             i.      Tenn. Code Ann. § 29-20-205(1): The exercise or performance or the failure

                     to exercise or perform a discretionary function, whether or not the discretion is

                     abused.

             ii.     Tenn. Code Ann. § 29-20-205(2): False imprisonment pursuant to a traffic stop,

                     false arrest, malicious prosecution, intentional trespass, abuse of process, libel,

                     slander, deceit, interference with contract rights, infliction of mental anguish,

                     invasion of privacy, or civil rights.

             iii.    Tenn. Code Ann. § 29-20-205(5): The institution or prosecution of any judicial

                     or administrative proceeding, even if malicious or without probable cause.

             iv.     Tenn. Code Ann. § 29-20-205(6): Misrepresentation by an employee whether

                     or not such is negligent or intentional.

          B. Tenn. Code Ann. § 29-20-307 provides for the right to trial without a jury;

          C. Tenn. Code Ann. § 29-20-403 limits any liability of governmental entities to the

             statutory limits of liability applicable as of July 7, 2012.

                                         NINTH DEFENSE

          Wilkey in his official capacities is immune from liability and not a proper party under the

   TGTLA for an act or omission for which the immunity of the governmental entity is removed by

   the TGTLA.

                                         TENTH DEFENSE

          The Plaintiff’s complaint is barred by the applicable statute of limitations or laches.




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                                           ELEVENTH DEFENSE

          Wilkey is presently without information as to the availability or applicability of any other

   affirmative defenses, in addition to those plead above, and reserves the right to amend his Answer

   to plead any affirmative defenses or matters of avoidance.

                                           TWELFTH DEFENSE

          Wilkey asserts an intent to seek attorneys’ fees and costs as to state law claims made

   against him as a prevailing party having been sued in their individual capacities for actions taken

   in their official capacities and under color of law pursuant to Tenn. Code Ann. § 29-20-113(a)

   and Federal Rule of Civil Procedure 54.

          Now having fully answered the complaint filed against him, the Defendant requests it be

          dismissed with his costs. In the alternative, the Defendant demands a jury be empaneled

          to try the issues when joined.


   Respectfully submitted,

   By: /s/ Micah Guster
   Micah Guster
   BPR No. 29586
   1502 McCallie Ave
   Chattanooga, TN 37404
   Telephone: (423) 485-8088

                                     CERTIFICATE OF SERVICE
           I hereby certify that I have served a true and correct copy of the foregoing pleading upon
   the following individual(s) via ECF, hand delivery, email, and/or regular U.S. mail, postage
   prepaid, and correctly addressed as follows:

          Sharon Milling
          Hamilton County Attorney's Office
          625 Georgia Avenue
          Chattanooga, TN 37402

          William Eugene Klaver
          PO Box 58
          Hixson, TN 37343


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        This 20th day of April, 2020.

                                        /s/ Micah Guster
                                        Micah Guster




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